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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

 IRA KLEIMAN, as the personal representative           CASE NO.: 9:18-cv-80176-BB/BR
 of the Estate of David Kleiman, and W&K Info
 Defense Research, LLC

        Plaintiffs,

 v.

 CRAIG WRIGHT

        Defendant.

                  CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

I, Velvel Freedman, as counsel for the Plaintiffs, hereby certify the following:

Check the applicable sections:

  X ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary physical
exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

    EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt from
mandatory electronic filing pursuant to Local Rule 5.3(b)(3):
_____________________________________________________________________________________

_____________________________________________________________________________________

Any original exhibits that have been returned to or retained by the filing party after electronic filing shall
be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing party agrees to
return the original exhibits to the Clerk of Court.

This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure to timely
comply with the requirements of Local Rule 5.3(b) may result in the imposition of sanctions.

Signature: /s/ Velvel Freedman                                                Date: 8/23/2019
